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             11                         UNITED STATES DISTRICT COURT

             12                       NORTHERN DISTRICT OF CALIFORNIA

             13                                SAN JOSE DIVISION

             14   IN RE INTUITIVE SURGICAL                Case No. 5:13-cv-01920 EJD (HRL)
                  SECURITIES LITIGATION
             15                                           NOTICE OF WITHDRAWAL OF
                                                          ALEXANDER DRYER
             16

             17                                           Dept.:     Courtroom 4 - 5th Floor
                                                          Judge:     Hon. Edward J. Davila
             18
                                                          Date Filed: April 26, 2013
             19
                                                          Trial Date: November 16, 2018
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                                    NOTICE OF WITHDRAWAL OF ALEXANDER DRYER
                                            Case No. 5:13-cv-01920 EJD (HRL)
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              1          PLEASE TAKE NOTICE that Alexander Dryer is no longer associated with the law firm

              2   of Keker, Van Nest & Peters, LLP and has withdrawn his appearance as counsel for Defendants

              3   Intuitive Surgical, Inc., Lonnie M. Smith, Gary S. Guthart, and Marshall L. Mohr.

              4          John W. Keker, Michael D. Celio, Laurie C. Mims, Cody S. Harris, and Philip J. Tassin of

              5   Keker, Van Nest & Peters LLP remain as counsel of record for Defendants Intuitive Surgical,

              6   Inc., Lonnie M. Smith, Gary S. Guthart, and Marshall L. Mohr.

              7   Dated: March 28, 2018                                KEKER, VAN NEST & PETERS LLP
              8

              9                                                 By:    /s/ Philip J. Tassin
                                                                       JOHN W. KEKER
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             14                                                        MARSHALL L. MOHR

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